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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

AMERICAN FEDERATION OF                      Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.

                 DECLARATION OF CHRISTOPHER PURDY
                   IN SUPPORT OF MOTION FOR TRO

I, Christopher Purdy, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in Georgia and currently work as the head of The Chamberlain Network, a
    nonprofit that aims to take a stand against political violence to help safeguard
    the principle upon which our democracy was built.

3.​ I am a military veteran. From 2004 to 2012, I served in the U.S. Army National
    Guard and was deployed to Iraq in 2011.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation from the Veterans Administration.

5.​ I have previously received other financial benefits from the federal government,
    including a home loan from the Veterans’ Administration and student loans
    from the Department of Education.

6.​ As a result of my military service and the financial benefits I receive, federal
    government agencies, including the Department of Education, and the
    Department of Treasury, have sensitive personal information about me in their
    record systems.
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7.​ At the Department of Treasury, this information includes my social security
    number, date of birth, bank account information, and home address. At the
    Department of Education, this information includes my social security number,
    bank records, tax returns, home address, employment data, documentation of
    marital status, mortgage statements, investments, family financial status and
    records, dependent care costs, as well as job loss and demographic data, in
    addition to similar information for my family members.

8.​ I provided this personal information in order to access essential services like
    disability payments and funds to help with educational expenses. When I
    provided the information, I expected that the data would be used to facilitate my
    access to these services and only for legally authorized purposes. I also
    expected that the government would zealously safeguard access to that
    information.

9.​ I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

10.​I am distressed that the breach of my personal information to unauthorized
    parties and enabled by the federal government makes that personal information
    more vulnerable to being released further to the public or to malicious
    third-party actors. I fear that this would cause me severe economic harm.

11.​Further, as I have been reading about cancellations of payments from the federal
    government, sometimes apparently targeted and sometimes haphazard, I am
    very worried that Elon Musk and his so-called “Department of Government
    Efficiency” may use their unauthorized access to my personal information to
    stop my VA disability payments. This is a major source of stress in my family
    as these payments are a significant source of our household income.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​

                                               ____________/s/*___________
​     ​      ​      ​     ​      ​        ​    Christopher Purdy​ ​

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.
